Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 1 of 30 PageID #: 1766



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   JOE ANDREW SALAZAR,

                 Plaintiff,
                                            Civil Action No. 2:16-cv-01096-JRG-RSP
          v.
                                                  JURY TRIAL DEMANDED
   HTC CORPORATION,                                   PATENT CASE

                 Defendant.



               HTC CORPORATION’S MOTION FOR SUMMARY JUDGMENT
                 OF NON-INFRINGEMENT OF THE ASSERTED CLAIMS
                              OF THE ’467 PATENT



   Jerry R. Selinger                         Fred I. Williams
   State Bar No. 18008250                    State Bar No. 00794855
   Email: jselinger@pattersonsheridan.com    Email: fwilliams@velaw.com
   Trampas A. Kurth                          Mario A. Apreotesi
   State Bar No. 24055807                    State Bar No. 24080772
   Email: tkurth@pattersonsheridan.com       Email: mapreotesi@velaw.com
   PATTERSON + SHERIDAN, LLP                 VINSON & ELKINS LLP
   1700 Pacific Avenue, Suite 2650           2801 Via Fortuna, Suite 100
   Dallas, Texas 75201                       Austin, Texas 78746
   Tel: 214.272.0957                         Tel: 512.542.8400
   Fax: 713.623.4846                         Fax: 512.542.8612

   Harry Lee Gillam, Jr.                     Todd E. Landis
   State Bar No. 07921800                    State Bar No. 24030226
   Email: gil@gillamsmithlaw.com             Email: tlandis@velaw.com
   GILLAM & SMITH, LLP                       VINSON & ELKINS, LLP
   303 South Washington Avenue               2001 Ross Avenue, Suite 3700
   Marshall, Texas 75670                     Dallas, Texas 75201
   Tel: 903.934.8450                         Tel: 210.220.7700
   Fax: 903.934.9257                         Fax: 210.220.7716

   ATTORNEYS FOR DEFENDANT
   HTC CORPORATION
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 2 of 30 PageID #: 1767



                                                       TABLE OF CONTENTS

   STATEMENT OF UNDISPUTED MATERIAL FACTS ............................................................. 2
   LEGAL BACKGROUND .............................................................................................................. 7
   ARGUMENT .................................................................................................................................. 9
   I.        HTC Corp. Is Entitled To Summary Judgment Of Non-infringement Because The
             Accused Instrumentalities Do Not Satisfy Each And Every Limitation Of The
             Asserted Claims. ................................................................................................................. 9
             A.         Salazar cannot show that the Accused Instrumentalities include a memory
                        device “configured to store a plurality of parameter sets” as sold. ......................... 9
             B.         Salazar has failed to show that the Accused Instrumentalities include the
                        claimed “infra-red transceiver” capable of bi-directional communication. .......... 11
             C.         Salazar cannot show that the Accused Instrumentalities include the claimed
                        “transceivers” that communicate “in accordance with said communication
                        protocols.” ............................................................................................................. 13
             D.         The Accused Instrumentalities do not “create” or “generate”
                        communication protocols as a matter of law. ....................................................... 15
             E.         Salazar cannot show that the accused “microprocessor” carries out each and
                        every claimed function. ......................................................................................... 17
   II.       HTC Corp. Is Entitled To Summary Judgment Of No Indirect Infringement, No
             Willful Infringement, And No Infringement Under The Doctrine Of Equivalents. ......... 19
             A.         Salazar cannot prove the “knowledge” element of indirect infringement
                        because HTC Corp. did not have notice of the ’467 Patent until after it
                        expired................................................................................................................... 19
             B.         Salazar cannot prove the “culpable behavior” element of willful
                        infringement because HTC Corp. did not have notice of the ’467 Patent
                        before it expired. ................................................................................................... 20
             C.         Salazar cannot show infringement under the doctrine of equivalents because
                        he failed to proffer supporting expert opinion on “insubstantial differences.”
                        ............................................................................................................................... 21
   III.      HTC Corp. Is Entitled To Summary Judgment Of Non-infringement For The HTC
             One M9 And HTC One M8 For Windows Because Salazar Failed To Provide
             Supporting Expert Testimony. .......................................................................................... 22
   IV.       HTC Corp. Is Entitled To Summary Judgment Of Non-infringement For The
             Accused Instrumentalities Retailed By Sprint Because HTC Corp. Performed No
             Allegedly Infringing Acts In The United States. .............................................................. 23
   V.        HTC Corp. Is Entitled To Summary Judgment Of Non-infringement For Claims 10
             And Its Dependents Because Salazar Has Stipulated To Dismiss These Claims. ............ 24
   CONCLUSION ............................................................................................................................. 24


                                                                            i
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 3 of 30 PageID #: 1768



             TABLE OF AUTHORITIES

   Cases
   Akzo Nobel Coatings, Inc. v. Dow Chemical Co.,
     811 F.3d 1334 (Fed. Cir. 2016) .................................................................................................. 8
   AquaTex Industries, Inc. v. Techniche Solutions,
     479 F.3d 1320 (Fed. Cir. 2007) ...................................................................................... 9, 21, 22
   Aspex Eyewear v. Marchon Eyewear, Inc.,
     672 F.3d 1335 (Fed. Cir. 2012) ................................................................................................ 10
   Becton Dickinson & Co. v. C.R. Bard, Inc.,
     922 F.2d 792 (Fed. Cir. 1990) .................................................................................................... 8
   Celotex Corp. v. Catrett,
     477 U.S. 317 (1986) ................................................................................................................ 7, 8
   Centricut, LLC v. The ESAB Group, Inc.,
     390 F.3d 1361 (Fed. Cir. 2004) ...................................................................................... 8, 22, 23
   Commil USA, LLC v. Cisco Systems, Inc.,
     135 S.Ct. 1920 (2015) ......................................................................................................... 19, 20
   Copelands’ Enters. v. CNV, Inc.,
     945 F.2d 1563 (Fed. Cir. 1991) .................................................................................................. 8
   Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc.,
     424 F.3d 1293 (Fed. Cir. 2005) ................................................................................................ 20
   Graver Tank & Mfg. v. Linde Air Prods. Co.,
     339 U.S. 605 (1950) .................................................................................................................... 9
   Halo Elecs., Inc. v. Pulse Elecs., Inc.,
     136 S. Ct. 1923 (2016) .............................................................................................................. 21
   High Tech Med. Instrumentation, Inc. v. New Image Indus., Inc.,
     49 F.3d 1551 (Fed. Cir. 1995) .................................................................................................. 13
   IAP Intermodal, LLC v. Northwest Airlines Corp.,
     No. 2:04-CV-65, 2005 WL 6217423 (E.D. Tex. Sept. 7, 2005)............................................... 17
   In re Varma,
      816 F.3d 1352 (Fed. Cir. 2016) .......................................................................................... 17, 18
   Joy Techs., Inc. v. Flakt, Inc.,
     6 F.3d 770 (Fed. Cir. 1993) ...................................................................................................... 20
   KCJ Corp. v. Kinetic Concepts, Inc.,
     223 F.3d 1351 (Fed. Cir. 2000) .................................................................................................. 8
   Nazomi Comm’ns, Inc. v. Nokia Corp.,
     739 F.3d 1339 (Fed. Cir. 2014) .......................................................................................... 12, 13
   Novartis Corp. v. Ben Venue Labs., Inc.,
     271 F.3d 1043 (Fed. Cir. 2001) .................................................................................................. 8

                                                                        ii
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 4 of 30 PageID #: 1769



   O2 Micro Int’l Ltd. v. Samsung Elecs. Co., LTD,
     No. 2:04-CV-323, 2006 WL 1804616 (E.D. Tex. Jun. 28, 2006) ........................................... 17
   Pellegrini v. Analog Devices, Inc.,
     375 F.3d 1113 (Fed. Cir. 2004) .......................................................................................... 23, 24
   Reese v. Samsung Telecomm’ns Am., L.P.,
     No. 2:05-CV-415-DF, 2006 WL 6112195 (E.D. Tex. Dec. 5, 2006) ....................................... 17
   Renishaw PLC v. Marposs Societa’ per Azioni,
     158 F.3d 1243 (Fed. Cir.1998) ................................................................................................... 9
   SIPCO, LLC v. ABB, Inc.,
     No. 6:11-CV-0048 LED-JDL, 2012 WL 3112302 (E.D. Tex. Jul. 30, 2012) .......................... 10
   SIPCO, LLC v. Amazon.com, Inc,
     No. 2:08-CV-359-JRG, 2012 WL 5195942 (E.D. Tex. Oct. 19, 2012).................................... 10
   Solocron Media, LLC v. Verizon Comm’s, Inc.,
     No. 2:13-CV-1059-JRG-RSP, 2015 WL 1011310 (E.D. Tex. Mar. 4, 2015) .......................... 10
   Southwall Technologies., Inc. v. Cardinal IG Co.,
     54 F.3d 1570 (Fed. Cir. 1995) .................................................................................................... 9
   Telemac Cellular Corp. v. Topp Telecom, Inc.,
     247 F.3d 1316 (Fed. Cir. 2001) ................................................................................................ 13
   Texas Instruments, Inc. v. Cypress Semiconductor Corp.,
     90 F.3d 1558 (Fed. Cir. 1996) .................................................................................................. 21
   Trintec Indus., Inc. v. Top-U.S.A. Corp,
     295 F.3d 1292 (Fed. Cir. 2002) ................................................................................................ 16
   Wahpeton Canvas Co. v. Frontier, Inc.,
    870 F.2d 1546 (Fed. Cir. 1989) .................................................................................................. 8
   Warner-Jenkinson Co. v. Hilton Davis Chem. Co.,
    520 U.S. 17 (1997) ...................................................................................................................... 8

   Statutes
   35 U.S.C. § 271(a) ........................................................................................................................ 23
   35 U.S.C. § 284 ............................................................................................................................. 20

   Rules
   Fed. R. Civ. P. 56(a) ....................................................................................................................... 7




                                                                         iii
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 5 of 30 PageID #: 1770



          Defendant HTC Corporation (“HTC Corp.”) is entitled to summary judgment on all

   asserted claims of U.S. Patent No. 5,802,467 (“the ’467 Patent”). In particular, summary judgment

   of non-infringement should be granted for the following reasons:

                 1.      Plaintiff Joe Andrew Salazar (“Salazar”) cannot show infringement of the

          asserted claims because the Accused Instrumentalities as sold do not have memory

          “configured” to store a plurality of parameter sets.

                 2.      Salazar cannot show infringement of the asserted claims because the

          Accused Instrumentalities do not include the claimed “infra-red frequency transceiver” that

          transmits to and receives from the same external devices.

                 3.      Salazar cannot show infringement of the asserted claims because the

          Accused Instrumentalities do not include the claimed “transceivers” that send and receive

          signals in accordance with each of the identified “communication protocols.”

                 4.      HTC Corp. is entitled to summary judgment of non-infringement for each

          of the asserted claims because the Accused Instrumentalities do not “create” or “generate”

          communication protocols.

                 5.      Salazar cannot show infringement of the asserted claims because the

          Accused Instrumentalities do not include the claimed “a microprocessor” that carries out

          each and every claimed function.

                 6.      Salazar has failed to carry its burden of proving indirect infringement,

          willful infringement, or infringement under the doctrine of equivalents.

                 7.      Salazar cannot show infringement for the HTC One M9 or HTC One M8

          for Windows because his infringement expert failed to provide any opinion or analysis

          regarding those devices.



                                                    1
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 6 of 30 PageID #: 1771



                  8.      Salazar cannot show direct infringement for the Accused Instrumentalities

          retailed by Sprint/United Management Company (“Sprint”) because non-party HTC

          America, Inc.—not the defendant in this case, HTC Corp.—is the importer of record and

          the entity that offered to sell (and sold) those devices to Sprint in the United States.

                  9.      HTC Corp. is entitled to summary judgment of non-infringement for claims

          10, 14, 17, 23, 26, 31, and 32 of the ’467 Patent because Salazar has stipulated to dismiss

          these claims.

                       STATEMENT OF UNDISPUTED MATERIAL FACTS

          1.      HTC Corp. is a Taiwanese corporation headquartered in Taiwan. See Ex. C at 26:9-

   13.

          2.      The accused HTC-brand smartphones consist of the One M7, One M8, One M8 for

   Windows, and One M9 smartphones (“the Accused Instrumentalities”).                     The Accused

   Instrumentalities are manufactured by HTC Corp. in Taiwan. Selinger Decl., Ex. A at 19:18-23.

          3.      Salazar asserts that the Accused Instrumentalities infringe claims 1-7, 27-30, and

   34 of the ’467 Patent (the “Asserted Claims”). Compare Selinger Decl., Ex. E at 1 (asserting

   claims 1-7, 10, 14, 17, 23, 26-32, and 34), with Selinger Decl., Ex. Q (Salazar stipulating to no

   longer asserting claims 10, 14, 17, 23, 26, 31, and 32).

          4.      Claims 1 and 34 are the only asserted independent claims.

          5.      The HTC One M7 and One M8 Accused Instrumentalities included the Android-

   based Sense TV application. Selinger Decl., Ex. G at 17:4-9. The HTC One M8 for Windows

   Accused Instrumentality included the Windows-based Sense TV application. See id.




                                                    2
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 7 of 30 PageID #: 1772



            6.    The HTC One M9 Accused Instrumentality did not include the Sense TV

   application. Id. at 17:4-19. The HTC One M9 utilized the Peel Smart Remote application, not the

   Sense TV application. Selinger Decl., Ex. H at 14:11-15.

            7.    Roy A. Griffin III, Salazar’s infringement expert, provided an infringement report

   for Salazar, including a cover report and Exhibit C thereto (collectively, “the Griffin Report”), on

   December 29, 2017. Mr. Griffin’s cover report mentions the “Sense TV application” and the Peel

   Smart Remote application, but it does not opine that the Peel Smart Remote or Windows-based

   Sense TV applications infringe. Selinger Decl. ¶¶ 21-23.

            8.    Exhibit C to the Griffin Report identifies the Sense TV application as allegedly

   meeting several limitations of each asserted independent claim. Selinger Decl., Ex. F at 4, 11, 73,

   76-80.

            9.    The Griffin Report does not include an element-by-element infringement analysis

   for the Peel Smart Remote application comparable to the analysis in Mr. Griffin’s Exhibit C for

   the Sense TV application. Selinger Decl. ¶ 21.

            10.   Mr. Griffin did not review the source code of the Windows-based Sense TV

   application for the One M8 for Windows when that code was made available for review under the

   Protective Order in this case. Selinger Decl. ¶ 22-23. And HTC Corp. did not provide any printed

   pages of the source code for the Sense TV application for Windows to Mr. Griffin. Id. at ¶ 22.

            11.   The Griffin Report describes reverse engineering two versions of the Sense TV

   application, but Mr. Griffin concedes that the apk files corresponding to those two versions of the

   Sense TV application were both Android versions. See Selinger Decl., Ex. E at ¶¶ 44-46. The

   Griffin Report does not offer any opinion as to the source code for the Sense TV application for

   the One M8 for Windows. Selinger Decl. ¶ 23.



                                                    3
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 8 of 30 PageID #: 1773



          12.     Until a user goes through a configuration process in the Sense TV and Peel Smart

   Remote applications, the Accused Instrumentalities cannot be used to control any external devices.

   Selinger Decl., Ex. O at 77:24-78:18 (agreeing that consumers cannot control external devices

   until “after he goes through the configuration process that’s required”); Ex. H at 15:1-16:5 (stating

   that to set up the Peel Smart Remote application a user has to specify “what kind of TV he has,

   and then the Peel application downloads the code from the servers for the particular TV”).

          13.     The Accused Instrumentalities as sold do not contain any parameter sets or

   command codes. Selinger Decl., Ex. H at 17:8-23. Command codes must be downloaded over

   the Internet from Peel servers to the Accused Instrumentalities. Id. at 15:1-16:5.

          14.     Mr. Griffin’s “demo application” described in the Griffin Report was developed by

   Christopher Byler. See, e.g., Selinger Decl., Ex. F at 7-8; Selinger Decl., Ex. K at 59:16-60:17.

   The Griffin “demo application” was not present on any Accused Instrumentality as sold. See

   Selinger Decl., Ex. K at 60:18-62:15.

          15.     The IR transceiver in the Accused Instrumentalities cannot send or receive signals

   in accordance with RF communication protocols. Selinger Decl., Ex. O at 19:25-20:15 (“Protocols

   are dealing with different kinds of technology, one having an IR transmission capability, which an

   RF protocol will not. And one having an RF capability that the IR transceiver will not.”).

   Specifically, the IR transceiver in the Accused Instrumentalities cannot communicate in

   accordance with Wi-Fi, Bluetooth, or NFC protocols. Id. at 49:19-50:20 (agreeing that the IR

   transceiver does not operate with respect to Wi-Fi, Bluetooth, or NFC protocols).

          16.     The RF transceivers in the Accused Instrumentalities cannot send or receive signals

   in accordance with IR communication protocols. See id. at 19:25-20:15 (stating that “protocols




                                                    4
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 9 of 30 PageID #: 1774



   are dealing with different kinds of technology”); 35:4-8 (agreeing that identified RF transceivers

   in the Accused Instrumentalities do not operate in IR frequency spectrum).

          17.      The communication rules for IR protocols are created by third-parties, not HTC

   Corp. Id. at 26:3-6 (agreeing that NEC makes rules for NEC IR protocol), 27:2-15 (“But I would

   agree with you that [IR] chip manufacturers will often design what that [IR] protocol will look

   like.”), 27:16-28:2 (agreeing that HTC “likely” does not create protocol rules for the NEC

   protocols), 28:3-8 (agreeing that HTC “likely” does not create protocol rules for IR protocols used

   by the Accused Instrumentalities). The communication rules for Bluetooth protocols are created

   and managed by third-party standards bodies, including the Bluetooth Special Interest Group and

   IEEE. Selinger Decl., Ex. P at 1. The communication rules for Wi-Fi protocols are created and

   managed by IEEE, a third-party standards body. See Selinger Decl., Ex. I. The communication

   rules for NFC protocols are created and managed by third-party standards bodies. Selinger Decl.,

   Ex. L at 5-6.

          18.      Each Accused Instrumentality uses the MAXQ614 microcontroller for infra-red

   (“IR”) frequency transmissions. Selinger Decl., Ex. B at 18:5-19:14.

          19.      The MAXQ614 microcontroller generates the IR carrier waveform and modulates

   the carrier waveform with the appropriate data. Selinger Decl., Ex. J at HTC011331 (MAXQ614

   specification describing “automatic IR carrier frequency generation and modulation), HTC011341

   (“During IR transmission (IRMODE = 1), the carrier generator creates the appropriate carrier

   waveform, while the carrier modulator performs the modulation.”); Ex. O at 44:24-47:3 (agreeing

   that MAXQ614 creates the IR signal that is to be transmitted).

          20.      The ’467 Patent issued on September 1, 1998, and expired on September 28, 2015.

   The Complaint was filed on October 5, 2016, after the ’467 Patent expired. Dkt. No. 1.



                                                   5
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 10 of 30 PageID #: 1775



          21.     Before filing this lawsuit, Mr. Salazar did not provide notice to HTC Corp. of the

   existence of the ’467 Patent or that he believed any of the four Accused Instrumentalities infringed.

   Selinger Decl., Ex. C at 96:16-18; Selinger Decl., Ex. D at 10-11. No products marked with the

   ’467 Patent number were sold after 2005. Id. at 11.

          22.     HTC Corp.’s first notice of any alleged infringement of the ’467 Patent came after

   Mr. Salazar filed this lawsuit in 2016. HTC Corp.’s first knowledge of the ’467 Patent was after

   Mr. Salazar filed this lawsuit in 2016. Wiggins Decl. ¶ 4.

          23.     Effective June 1, 2010, non-party HTC America, Inc. became a distributor for HTC

   Corp. in the United States and the importer of record for all HTC-brand smartphones, including

   the Accused Instrumentalities, into the United States. Selinger Decl., Ex. A at 14:3-5; 15:4-8, 14-

   20, 22; 45:6-11. Title to all HTC-branded smartphones passes to HTC America, Inc., outside of

   the United States. Selinger Decl., Ex. A at Dep. Ex. 2 at HTC037534 (Section 7.2).

          24.     After June 1, 2010, offers for sale and sales in the United States of HTC-brand

   smartphones to Sprint, including the Accused Instrumentalities, were made by non-party HTC

   America, Inc. Selinger Decl., Ex. M (Master Purchase Agreement between HTC Corp. and Sprint

   for the supply of HTC-branded products), Selinger Decl., Ex. N at 2 (amending Master Purchase

   Agreement between HTC Corp. and Sprint to assign to HTC America, Inc. rights to receive and

   process purchase orders, issue invoices, and receive payments); see also Selinger Decl., Ex. A at

   36:14-15, 17-23; 45:12-25; 46:1-7, 15-17, 19-21, 25; 47:1, 3-25; 48:1-19.

          25.     Sales of the Accused Instrumentalities began in 2013. Selinger Decl., Ex. A at

   12:13-15.

          26.     The Griffin Report claims that Mr. Griffin provides a doctrine of equivalents

   analysis. Selinger Decl., Ex. E ¶¶ 33-35, 37. The Griffin Report, however, does not include any



                                                    6
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 11 of 30 PageID #: 1776



   doctrine of equivalents analysis purporting to show that any portion of the Accused

   Instrumentalities meets the “function-way-result” test or that any differences are only

   “insubstantial.” Selinger Decl. ¶ 20. The Griffin Report purports to assert both literal infringement

   and infringement under the doctrine of equivalents for every limitation of every asserted claim

   (in the right-hand column of Mr. Griffin’s table), but it lacks any opinion or analysis that any

   portion of the accused structure meets any claim limitation under the “function-way-result” test or

   that any differences were only “insubstantially different.” Id.; see also Selinger Decl., Ex. F at 1-

   3.

          27.     The operative complaint asserts induced infringement. Dkt. 44, ¶¶ 21-22. The

   Griffin Report fails to identify any evidence of underlying acts of direct infringement by any third

   party. Selinger Decl. ¶ 24.

          28.     The operative complaint does not assert contributory infringement. See Dkt. 44.

   The Griffin Report fails to offer any opinion that the Accused Instrumentalities have no substantial

   non-infringing uses. Selinger Decl. ¶ 25.

                                       LEGAL BACKGROUND

          Summary judgment is appropriate when “there is no genuine dispute as to any material

   fact.” Fed. R. Civ. P. 56(a). The moving party bears the burden of demonstrating the absence of

   genuine issues of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 330 (1986). The moving

   party, however, need not produce evidence showing the absence of a genuine issue of material

   fact, but rather may discharge its burden by showing the district court that there is an absence of

   evidence to support the nonmoving party’s case. Copelands’ Enters. v. CNV, Inc., 945 F.2d 1563,

   1565 (Fed. Cir. 1991) (citing Celotex, 477 U.S. at 325). The nonmoving party must provide more

   than the conclusory opinions of an expert to preclude a summary judgment finding; instead, the



                                                    7
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 12 of 30 PageID #: 1777



   nonmoving party must provide specific facts showing that there is a genuine issue for trial. See

   Novartis Corp. v. Ben Venue Labs., Inc., 271 F.3d 1043, 1050-51, 1055 (Fed. Cir. 2001)

   (conclusory expert testimony is not entitled to weight at summary judgment).

          Here, Salazar bears the burden of proof on infringement. As a matter of law, there is no

   infringement (literal or otherwise) if even a single claim limitation is missing from the Accused

   Instrumentalities. Becton Dickinson & Co. v. C.R. Bard, Inc., 922 F.2d 792, 798 (Fed. Cir. 1990);

   KCJ Corp. v. Kinetic Concepts, Inc., 223 F.3d 1351, 1358 (Fed. Cir. 2000). Devices that do not

   infringe an independent claim do not infringe any of its dependent claims. Wahpeton Canvas Co.

   v. Frontier, Inc., 870 F.2d 1546, 1552 n.9 (Fed. Cir. 1989) (citation omitted).

          The issue of infringement is amenable to summary judgment when, inter alia, no

   reasonable fact finder could find infringement. Akzo Nobel Coatings, Inc. v. Dow Chemical Co.,

   811 F.3d 1334, 1339 (Fed. Cir. 2016) (citing Warner-Jenkinson Co. v. Hilton Davis Chem. Co.,

   520 U.S. 17, 29, 39 n. 8 (1997)). That situation exists when the accused technology is complex,

   involving matters beyond the comprehension of a layperson, and the expert fails to opine that

   structure in the accused device meets every claim limitation. See, e.g., Centricut, LLC v. ESAB

   Grp., Inc., 390 F.3d 1361, 1369-70 (Fed. Cir. 2004). The infringement analysis is “a two-step

   process in which [courts] first determine the correct claim scope, and then compare the properly

   construed claim to the accused device to determine whether all of the claim limitations are present

   either literally or by a substantial equivalent.” Renishaw PLC v. Marposs Societa’ per Azioni, 158

   F.3d 1243, 1247-48 (Fed. Cir. 1998). For literal infringement, “every limitation set forth in a claim

   must be found in an accused product, exactly.” Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d

   1570, 1575 (Fed. Cir. 1995). For infringement under the doctrine of equivalents, a patentee must

   demonstrate an “insubstantial difference” between the claimed invention and the accused product.



                                                    8
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 13 of 30 PageID #: 1778



   AquaTex Indus., Inc. v. Techniche Sols., 479 F.3d 1320, 1326 (Fed. Cir. 2007) (citing Graver Tank

   & Mfg. v. Linde Air Prods. Co., 339 U.S. 605, 608 (1950)).

                                            ARGUMENT

   I.     HTC Corp. Is Entitled To Summary Judgment Of Non-infringement Because The
          Accused Instrumentalities Do Not Satisfy Each And Every Limitation Of The
          Asserted Claims.

          Direct infringement of the Asserted Claims requires that the Accused Instrumentalities

   satisfy each and every limitation. Because the Accused Instrumentalities fail to satisfy several

   limitations of the asserted independent claims (specifically, claims 1 and 34), summary judgment

   of non-infringement should be granted for all Asserted Claims.

          A.      Salazar cannot show that the Accused Instrumentalities include a memory
                  device “configured to store a plurality of parameter sets” as sold.

          Summary judgment of non-infringement should be granted on all Asserted Claims because

   the Accused Instrumentalities do not include a memory device “configured to store a plurality of

   parameter sets.” Each of the asserted independent claims require “a memory device coupled to

   said microprocessor configured to store a plurality of parameter sets.” ’467 Patent at 26:1-3,

   30:16-17.

          The Accused Instrumentalities do not contain a memory “configured” to store parameter

   sets. It is undisputed that the Accused Instrumentalities contain a memory that is capable of being

   configured to store command data received from the Peel servers. See Undisputed Material Fact

   (“UMF”) Nos. 12-13 (providing that command data can be downloaded from Peel servers after

   the configuration process is completed). But it is also undisputed that the memories within the

   Accused Instrumentalities do not have any memory spaced allocated for the storage of “parameter

   sets” or command data received from the Peel servers when sold. See UMF No. 13. This is

   because while it is undisputed that the Accused Instrumentalities are sold with the Android-based


                                                   9
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 14 of 30 PageID #: 1779



   Sense TV application, the Windows-based Sense TV application, or the Peel Smart Remote

   application, it is also undisputed that those applications cannot be used on the Accused

   Instrumentalities to control external devices until a user completes a configuration process by

   connecting the Accused Instrumentalities over the Internet to Peel’s servers, selecting a specific

   device to control, and downloading command data for that device from Peel’s server. UMF Nos.

   5, 6, 12, and 13. Until such configuration process occurs, it is undisputed that the Accused

   Instrumentalities do not contain any “parameter sets” and do not have any memory space allocated

   to store such parameter sets.

          The mere capability of the Accused Instrumentalities to be configured to store parameter

   sets is not sufficient to prove infringement. This Court has consistently held that “configured to”

   in fact “require[s] not merely being capable of being configured, but rather being actually

   configured.” SIPCO, LLC v. Amazon.com, Inc, No. 2:08-CV-359-JRG, 2012 WL 5195942, at *56

   (E.D. Tex. Oct. 19, 2012); see also SIPCO, LLC v. ABB, Inc., No. 6:11-CV-0048 LED-JDL, 2012

   WL 3112302, at *10-11 (E.D. Tex. Jul. 30, 2012) (holding that the term “memory configured to”

   “requires that the memory is actually programmed or configured to store the data”).1 Mr. Griffin

   opines that the “memory device” limitation is satisfied because the Accused Instrumentalities

   include memory that is “capable of being configured” to store a plurality of parameter sets.

   Selinger Decl., Ex. K at 158:6-160:11 (emphasis added). HTC Corp. does not dispute that the

   memory of the Accused Instrumentalities is capable of being configured. See UMF No. 13. But

   mere capability to store parameter sets is not sufficient. The Accused Instrumentalities must be


   1
     See also Solocron Media, LLC v. Verizon Comm’s, Inc., No. 2:13-CV-1059-JRG-RSP, 2015 WL
   1011310, at *12 (E.D. Tex. Mar. 4, 2015) (following SIPCO, LLC v. Amazon.com, Inc.); Aspex
   Eyewear v. Marchon Eyewear, Inc., 672 F.3d 1335, 1349 (Fed. Cir. 2012) (“adapted to” construed
   to mean “configured to,” which requires that the device be actually so configured, not merely
   capable of configuration).

                                                   10
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 15 of 30 PageID #: 1780



   “actually configured” to store parameter sets and the undisputed facts demonstrate that they are

   not. Because the Accused Instrumentalities as sold are not “actually configured” to store a plurality

   of parameter sets, summary judgment of non-infringement should be entered on all Asserted

   Claims.

          B.      Salazar has failed to show that the Accused Instrumentalities include the
                  claimed “infra-red transceiver” capable of bi-directional communication.

          Summary judgment of non-infringement should be entered on all Asserted Claims because

   the Accused Instrumentalities do not include the claimed “infrared transceiver.” All of the

   Asserted Claims require an “infra-red [(“IR”)] frequency transceiver coupled to said

   microprocessor for transmitting to said external devices and receiving from said external devices.”

   The term “said external devices” in this limitation refers back to “a plurality of external devices”

   recited in the preamble. See ’467 patent at 25:57-59 (preamble of claim 1). Because the claimed

   IR transceiver transmits to “said external devices” and receives from the same “said external

   devices,” Salazar must show that the Accused Instrumentalities include an IR transceiver capable

   of bi-directional IR communication with at least two external devices. It is insufficient that a

   transceiver transmits to one external device and receives from a different device. The claim

   language requires that an accused IR transceiver must be capable of transmitting to at least two

   separate external devices and receiving from the same at least two external devices. The Accused

   Instrumentalities do not have such an IR transceiver.

          In fact, summary judgment of non-infringement should be granted because Salazar has

   failed to show that the Accused Instrumentalities include an IR transceiver that transmits IR signals

   to and receives IR signals from even one external device, let alone a plurality of external devices.

   Mr. Griffin opines that “[t]he accused HTC One phones have an IR transceiver for transmitting IR

   signals to external devices, and receiving IR signals from external devices using infrared frequency


                                                    11
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 16 of 30 PageID #: 1781



   signals.”   Selinger Decl., Ex. F at 12.      Mr. Griffin merely identifies generic, unspecified

   “televisions, cable TV boxes, and other devices” as the external devices. Id. at 2. He has not,

   however, identified any specific external devices with which the Accused Instrumentalities as sold

   could bi-directionally communicate. Mr. Griffin’s conclusory opinions merely show that the

   Accused Instrumentalities could transmit IR signals and receive IR signals—which HTC Corp.

   does not dispute. But that opinion falls well short of Salazar’s infringement burden to provide

   evidence that the Accused Instrumentalities could transmit IR signals to and receive IR signals

   from the same external devices. Accordingly, summary judgment of non-infringement of all

   Asserted Claims should be granted.

          Mr. Griffin’s “demo application” does not show direct infringement by the Accused

   Instrumentalities because it constitutes a clear “modification.” Apparatus claims, like the Asserted

   Claims here, are not directly infringed if the accused products must be modified to utilize the

   claimed function. See Nazomi Comm’ns v. Nokia Corp., 739 F.3d 1339, 1345-46 (Fed. Cir. 2014)

   (affirming summary judgment of non-infringement because “[t]he purchase and installation of

   [software] clearly constitutes a ‘modification’ of the accused products”). It is undisputed that the

   Griffin “demo application” was not included in any Accused Instrumentality as sold. UMF No. 14.

   It is also undisputed that the “demo application” was developed by Mr. Griffin’s colleague during

   the course of this lawsuit. Id. As a result, the development and installation of the demo application

   “clearly constitutes a modification” of the Accused Instrumentalities, and Salazar cannot rely on

   it to avoid summary judgment of non-infringement. See Nazomi Comm’ns, 739 F.3d at 1345-46;

   see also Telemac Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316, 1330 (Fed. Cir. 2001)

   (“[T]hat a device is capable of being modified to operate in an infringing manner is not sufficient,

   by itself, to support a finding of infringement.”); High Tech Med. Instrumentation, Inc. v. New



                                                    12
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 17 of 30 PageID #: 1782



   Image Indus., Inc., 49 F.3d 1551, 1555-56 (Fed. Cir. 1995) (stating that the fact that the accused

   device could be altered in a way that satisfies the claim term did not lead to infringement).

             C.     Salazar cannot show that the Accused Instrumentalities include the claimed
                    “transceivers” that communicate “in accordance with said communication
                    protocols.”

             Summary judgment of non-infringement should be entered on all Asserted Claims because

   the Accused Instrumentalities do not include a transceiver that operates “in accordance with said

   communication protocols.” The Asserted Claims require a microprocessor that creates “a plurality

   of reprogrammable communication protocols.”2           They also require an IR transceiver “for

   transmitting to said external devices and receiving from said external devices, infra-red

   frequency signals in accordance with said communications protocols.” Because the IR

   transceiver in the Accused Instrumentalities does not communicate in accordance with each and

   every accused communication protocol, the Accused Instrumentalities do not infringe.

             The IR transceiver in the Accused Instrumentalities does not communicate in accordance

   with RF protocols. UMF No. 15. Mr. Griffin identifies the “plurality of reprogrammable

   communication protocols” as including RF communication protocols (specifically, Bluetooth, Wi-

   Fi, and NFC protocols) and unspecified IR communication protocols:




   2
       Specifically, the “microprocessor” limitation of each asserted independent claim recites:
                    a microprocessor for generating a plurality of control signals used
                    to operate said system, said microprocessor creating a plurality
                    of reprogrammable communication protocols, for transmission
                    to said external devices wherein each communication protocol
                    includes a command code set that defines the signals that are
                    employed to communicate with each one of said external devices.

                                                     13
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 18 of 30 PageID #: 1783




   Selinger Decl., Ex. F at 1-2. Mr. Griffin then ipse dixit opines that an IR transceiver in the Accused

   Instrumentalities sends and receives “infrared frequency signals in accordance with said

   communications protocols.” Id. at 13. It is undisputed, however, that the IR transceiver in the

   Accused Instrumentalities cannot send or receive signals in accordance with the Bluetooth, Wi-Fi,

   or NFC communication protocols. UMF No. 15. Salazar has failed to show that the IR transceivers

   in the Accused Instrumentalities send infra-red frequency signals “in accordance with” each of




                                                    14
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 19 of 30 PageID #: 1784



   “said plurality of reprogrammable communication protocols” identified by Mr. Griffin. Summary

   judgment of non-infringement of all the Asserted Claims should therefore be granted.

          Claim 2 (along with claims 3 and 4 depending therefrom) also requires a RF transceiver

   “for transmitting to said external devices and receiving from said devices, radio frequency signals

   … in accordance with said communication protocols.” In other words, the RF transceiver must

   transmit and send signals in accordance with the same communication protocols identified for the

   “microprocessor” limitation of claim 1. For the “RF transceiver” limitation, Mr. Griffin opines

   that the Accused Instrumentalities include “a number of” RF transceivers that communicate in

   accordance with RF-based protocols. Selinger Decl., Ex. F at 13-15 (identifying cellular network

   transceivers, Wi-Fi transceiver, Bluetooth transceiver, and NFC transceiver). As with the IR

   transceiver, it is undisputed that the RF transceivers in the Accused Instrumentalities do not

   transmit and receive signals in accordance with IR communication protocols. UMF No. 16. As

   Salazar has failed to show that the RF transceivers in the Accused Instrumentalities transmit and

   receive radio frequency signals “in accordance with” each of the identified communication

   protocols, summary judgment of non-infringement of claims 2-4 should be granted.

          As a result, summary judgment of non-infringement of all Asserted Claims should be

   granted because the Accused Instrumentalities do not include transceivers that communicate “in

   accordance with said communication protocols.”

          D.      The Accused Instrumentalities do not “create” or “generate” communication
                  protocols as a matter of law.

          The Asserted Claims require the claimed “microprocessor” to “creat[e] a plurality of

   reprogrammable communication protocols, for transmission to said external devices” (element

   1[a]) and “generat[e] a communication protocol in response to said user selections” (element 1[c]).

   It is undisputed that a “communication protocol” is a set of rules that allow devices to communicate


                                                   15
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 20 of 30 PageID #: 1785



   with each other. See Selinger Decl., Ex. F at 2 (“A protocol establishes the communication rules

   for communicating with a device such as an external device.”). Salazar, therefore, must show that

   the Accused Instrumentalities include a microprocessor that “creates” and “generates” the

   communication rules for communicating with a plurality of external devices.

          HTC Corp. is entitled to judgment as a matter of law because the Accused Instrumentalities

   implement pre-existing communication protocols and do not “create” or “generate” the

   communication rules for those protocols. It is undisputed that the communication rules for the

   accused, unspecified IR protocols are created by third-parties—not HTC Corp. or the Accused

   Instrumentalities. UMF No. 17. It is also undisputed that the communication rules for the

   identified RF protocols are created by third-party standards bodies—not HTC Corp. or the

   Accused Instrumentalities. Id. As a result, the Accused Instrumentalities do not “create” or

   “generate” the IR protocols because they do not create the associated communication rules or bring

   those protocols into existence. Courts have routinely held that the plain and ordinary meaning of

   “creating” and “generating” requires bringing something into existence. See Trintec Indus., Inc.

   v. Top-U.S.A. Corp, 295 F.3d 1292, 1296-97 (Fed. Cir. 2002) (construing “creating” to “require

   more than simply using the computer as a conduit to convey information,” rather it requires “a

   substantive addition or modification of the artwork in the computer”).3 Here, Salazar has failed to

   show that the Accused Instrumentalities do more than simply implement IR protocols and

   summary judgment of non-infringement for all the Asserted Claims should be granted.



   3
    See also O2 Micro Int’l Ltd. v. Samsung Elecs. Co., No. 2:04-CV-323, 2006 WL 1804616, at *8
   (E.D. Tex. Jun. 28, 2006) (construing “generating” to mean “bringing into existence”); IAP
   Intermodal, LLC v. Nw. Airlines Corp., No. 2:04-CV-65, 2005 WL 6217423, at *8-9 (E.D. Tex.
   Sept. 7, 2005) (construing “creating” to mean “forming or making” and “generating” to mean
   “producing”); Reese v. Samsung Telecomm’ns Am., L.P., No. 2:05-CV-415-DF, 2006 WL
   6112195, at *12-13 (E.D. Tex. Dec. 5, 2006) (construing “generating” to mean “creating”).

                                                   16
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 21 of 30 PageID #: 1786



          E.      Salazar cannot show that the accused “microprocessor” carries out each and
                  every claimed function.

          HTC Corp. is entitled to summary judgment of non-infringement because the Accused

   Instrumentalities do not infringe the “a microprocessor” limitations of the Asserted Claims. Each

   of the asserted independent claims requires “a microprocessor” that is responsible for specific

   functions described in the remainder of the claim. Specifically, the claimed “microprocessor” of

   each Asserted Claim is responsible for (1) “generating a plurality of control signals used to operate

   said system,” (2) “creating a plurality of reprogrammable communication protocols,” (3)

   “recreat[ing] a desired command code set” from “a plurality of [retrieved] parameter sets,” and (4)

   “generating a communication protocol in response to said user selections.”

          The law requires that, regardless of whether “a microprocessor” is one microprocessor or

   multiple microprocessors, the accused microprocessor(s) must be able to perform all of the

   functions associated with the claimed “a microprocessor.” See In re Varma, 816 F.3d 1352, 1363

   (Fed. Cir. 2016). In re Varma involved the appeal of a claim construction from the Patent Trial

   and Appeal Board of the Patent and Trademark Office (the “Board”), in which the Board

   interpreted the claim phrase “a statistical analysis request corresponding to two or more selected

   investments.” Id. at 1358. The Board had concluded that the claim would be satisfied even if two

   requests would be necessary to accomplish an analysis of “two or more investments.” Id.. The

   Federal Circuit rejected the Board’s decision because the Board had focused on the indefinite

   article “a” in the phrase “a statistical analysis,” rather than on the claim language that follows. Id.

   at 1362-63. The Federal Circuit reasoned:

                  [T]he question is not whether there can be more than one request in
                  a claim-covered system: there can. Rather, the question is whether
                  ‘a’ can serve to negate what is required by the language following
                  ‘a’: a ‘request’ (a singular term) that ‘correspond[s]’ to ‘two or more
                  selected investments.’ It cannot.


                                                     17
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 22 of 30 PageID #: 1787



   Id. The Federal Circuit analogized this principle as follows: “For a dog owner to have ‘a dog that

   rolls over and fetches sticks,’ it does not suffice that he have two dogs, each able to perform just

   one of the tasks.” Id. at 1363. Thus, the Federal Circuit concluded:

                  In the present case, no matter how many requests there may be, no
                  matter the variety of the requests the system may receive, the system
                  must be adapted to receive a request that itself corresponds to at least
                  two investments.

   Id.

          The Accused Instrumentalities here do not infringe the Asserted Claims because they do

   not contain a microprocessor capable of performing each and every one of the required functions.

   Mr. Griffin identifies the claimed “microprocessor” for the accused HTC One M7 as the

   “Qualcomm Snapdragon 600, quad-core, 1.7 GHz microprocessor” (“Snapdragon 600”).4

   Selinger Decl., Ex. F at 1. As a result, the Snapdragon 600 must perform each of the claimed

   microprocessor functions, including the “recreate a desired command code set” function.5

   According to Salazar’s own expert, a “command code set” is a “set of signals that are the after-

   modulated signal.” Selinger Decl., Ex. K at 174:2-175:1. It is undisputed that it is the MAXQ614

   in the Accused Instrumentalities—not a generic “microprocessor” or the Snapdragon 600—that

   creates the modulated IR signals (or “after-modulated signals”) for transmission. UMF Nos. 18-

   19. Specifically, the MAXQ614 microcontroller generates the IR carrier waveform and modulates

   the carrier waveform with the command data. Id. Because the MAXQ614 “recreates” the alleged

   desired command code set, Salazar has failed to show any microprocessors capable of performing


   4
     Mr. Griffin does not identify the accused “microprocessor” in the HTC One M8, One M8 for
   Windows, or One M9 Accused Instrumentalities, but merely identifies a generic microprocessor
   in these devices.
   5
     HTC. Corp disputes that the Accused Instrumentalities “recreate command code sets” but, for
   purposes of this Motion, does not dispute Salazar’s allegation that the Accused Instrumentalities
   “recreate command code sets.”
                                                    18
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 23 of 30 PageID #: 1788



   each of the required functions. And so summary judgment of non-infringement should be entered

   on all Asserted Claims.

   II.    HTC Corp. Is Entitled To Summary Judgment Of No Indirect Infringement, No
          Willful Infringement, And No Infringement Under The Doctrine Of Equivalents.

          The Court should grant summary judgment of no indirect infringement, no willful

   infringement, and no infringement under the doctrine of equivalents because Salazar has failed to

   prove each claim.

          A.      Salazar cannot prove the “knowledge” element of indirect infringement
                  because HTC Corp. did not have notice of the ’467 Patent until after it expired.

          “[L]iability for inducing infringement attaches only if the defendant knew of the patent and

   that the induced acts constitute patent infringement.” Commil USA, LLC v. Cisco Sys., Inc., 135

   S.Ct. 1920, 1926 (2015) (internal quotations omitted) . “Like induced infringement, contributory

   infringement requires knowledge of the patent in suit and knowledge of patent infringement.” Id.

   And the patentee always bears the burden to show the underlying direct infringement for each

   instance of indirect infringement. Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 774 (Fed. Cir. 1993)

   (“Liability for either active inducement of infringement or contributory infringement is dependent

   upon the existence of direct infringement.”). Contributory infringement also requires that the

   patent owner “show that defendant knew that the combination for which its components were

   especially made was both patented and infringing and that defendant's components have no

   substantial non-infringing uses.” Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc., 424

   F.3d 1293, 1312 (Fed. Cir. 2005) (internal quotations omitted).

          Salazar’s operative complaint asserts induced infringement but not contributory

   infringement. UMF 27-28. HTC Corp. did not have notice of any alleged infringement or of the

   ’467 Patent itself before Salazar filed his complaint in 2016, by which time the ’467 Patent had

   already expired. UMF Nos. 20-22. For these reasons alone, HTC Corp. is entitled to partial

                                                   19
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 24 of 30 PageID #: 1789



   summary judgment of no indirect infringement. See Commil, 135 S.Ct. at 1926 (requiring that

   defendant knew of the patent to indirectly infringe).

          Summary judgment of no indirect infringement should be granted for two additional

   reasons. First, Mr. Griffin failed to identify any evidence of underlying acts of direct infringement

   by third parties. UMF No. 27; Joy Techs., supra. Second, Mr. Griffin failed to opine that any of

   the Accused Instrumentalities lack substantial non-infringing uses. UMF No. 28; Cross Med.

   Prods., supra. For each of these reasons also, HTC Corp. is entitled to summary judgment of no

   indirect infringement.

          B.      Salazar cannot prove the “culpable behavior” element of willful infringement
                  because HTC Corp. did not have notice of the ’467 Patent before it expired.

          In Halo Elecs., Inc. v. Pulse Elecs., Inc., the Supreme Court held that § 284 contains no

   explicit limit or condition on when a district court may award enhanced damages, but instead allows

   courts to “punish the full range of culpable behavior.” 136 S. Ct. 1923, 1931, 1933 (2016). This

   “sort of conduct warranting enhanced damages has been variously described in our cases as

   willful, wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or – indeed –

   characteristic of a pirate.” Id. at 1932. Enhanced damages, however, are generally reserved for

   an “egregious case of misconduct beyond typical infringement,” such as those “typified by willful

   misconduct.” Culpability is generally measured against the knowledge of the actor at the time of

   the challenged conduct. Id. at 1933.

          HTC Corp. is entitled to summary judgment of no willful infringement because HTC Corp.

   could not have acted with wanton disregard of Mr. Salazar’s patent rights. See Halo, 136 S.Ct. at

   1933. Given that it had no notice of the ’467 Patent until after it expired, UMF Nos. 20-22, HTC

   Corp. could not have acted in a way that could be described as “willful, wanton, malicious, bad-




                                                    20
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 25 of 30 PageID #: 1790



   faith, deliberate, consciously wrongful, flagrant, or – indeed – characteristic of a pirate.” Halo,

   136 S. Ct. at 1932.

          C.      Salazar cannot show infringement under the doctrine of equivalents because
                  he failed to proffer supporting expert opinion on “insubstantial differences.”

          Summary judgment of non-infringement under the doctrine of equivalents should be

   granted because Mr. Griffin failed to offer the required expert opinions. Salazar was required to

   provide “particularized testimony and linking argument on a limitation-by-limitation basis that

   created a genuine issue of material at as to equivalents.” See AquaTex Indus., 479 F.3d at 1328-

   29. “Generalized testimony as to the overall similarity between the claims and the accused

   infringer’s product or process will not suffice.” Id. at 1328 (quoting Texas Instruments, Inc. v.

   Cypress Semiconductor Corp., 90 F.3d 1558, 1567 (Fed. Cir. 1996)). Mr. Griffin’s cover report

   states that he provides a doctrine of equivalents analysis, but the Griffin Report does not provide

   any “particularized testimony.” In the right-hand column of his Exhibit C, Mr. Griffin provides

   conclusory assertions that each claim element of every Asserted Claim is both literally infringed

   and infringed under the doctrine of equivalents, simply by placing the same “L;D/E” designation

   in each and every row of his charts. UMF No. 26. Mr. Griffin, however, provides no opinion or

   linking argument in the cover report or Exhibit C as to any purportedly insubstantial differences

   between the claimed invention and the Accused Instrumentalities. Id. Because Salazar failed to

   provide the necessary expert opinions and arguments, HTC Corp. is entitled to summary judgment

   of non-infringement under the doctrine of equivalents. See AquaTex Indus., 479 F.3d at 1326,

   1328-29.




                                                   21
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 26 of 30 PageID #: 1791



   III.   HTC Corp. Is Entitled To Summary Judgment Of Non-infringement For The HTC
          One M9 And HTC One M8 For Windows Because Salazar Failed To Provide
          Supporting Expert Testimony.

          Summary judgment of non-infringement should be entered for all assertions against the

   HTC One M9 and One M8 for Windows because Salazar failed to provide expert testimony

   showing infringement. See Centricut, 390 F.3d at 1369-70 (stating expert testimony typically

   necessary in cases involving complex technology). In his Exhibit C, Mr. Griffin identified and

   analyzed the Sense TV application as infringing structure within the Accused Instrumentalities.

   But the written infringement analysis and opinions make no mention of the Peel Smart Remote

   application used exclusively in the One M9 (see UMF Nos. 7, 9) or the Windows-based Sense TV

   application on the One M8 for Windows (see UMF No. 10), therefore, failing to provide supporting

   argument for his conclusory opinions.

          Mr. Griffin mentions both the Sense TV application and the Peel Smart Remote application

   in his cover report, but wholly fails to opine that the Peel Smart Remote application infringes.

   UMF No. 7. Exhibit C to the cover report opines only that the “Sense TV application” is the

   structure within the Accused Instrumentalities that allegedly meets several limitations of the

   independent claims. Mr. Griffin’s cover report, however, does not provide any opinion or analysis

   indicating that the Peel Smart Remote application satisfies any of the claim limitations. UMF No.

   9. As a result, the Court should grant partial summary judgment of non-infringement for the HTC

   One M9.

          Similarly, the Court should grant partial summary judgment of non-infringement by the

   HTC One M8 for Windows because Salazar failed to provide expert testimony showing

   infringement. There is no mention of the Windows-based Sense TV application on the One M8

   for Windows in either the Griffin cover report or its Exhibit C, nor does either provide any analysis

   of it. Mr. Griffin did not review the source code of the Sense TV application for the One M8 for
                                                    22
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 27 of 30 PageID #: 1792



   Windows when it was produced for inspection. UMF No. 10. No pages of that source code were

   provided to Salazar. Id. Neither Mr. Griffin’s cover report nor his exhibit C addresses the source

   code of the Windows-based Sense TV application. UMF No. 11. Mr. Griffin’s failure to cite to

   source code for the Windows-based Sense TV application or provide any infringement analysis

   for this application warrants summary judgment of non-infringement by the One M8 for Windows.

   Centricut, supra.

   IV.    HTC Corp. Is Entitled To Summary Judgment Of Non-infringement For The
          Accused Instrumentalities Retailed By Sprint Because HTC Corp. Performed No
          Allegedly Infringing Acts In The United States.

          Only a defendant that “makes, uses, offers to sell or sells” a patented invention in the

   United States, or “imports into the United States” a patented invention can be a direct infringer.

   35 U.S.C. § 271(a) (emphasis added); see also Pellegrini v. Analog Devices, Inc., 375 F.3d 1113,

   1117 (Fed. Cir. 2004) (“[As] the U.S. Supreme Court explained nearly 150 years ago ... the U.S.

   patent laws do not, and were not intended to, operate beyond the limits of the United States.”)

   (citations omitted).

          HTC Corp. is a Taiwanese corporation. The Accused Instrumentalities are manufactured

   by HTC Corp. in Taiwan. UMF No. 2. On June 1, 2010, HTC America, Inc. became the importer

   of record for HTC-brand smartphones sold in the U.S., including the Accused Instrumentalities,

   taking title outside of the United States. UMF No. 23. Sales of the accused products began in

   2013. UMF No. 25. After June 1, 2010, offers for sale and sales in the United States of the

   Accused Instrumentalities retailed by Sprint were made by HTC America, Inc. UMF No. 24.

   Because it has committed no allegedly infringing acts in the United States, HTC Corp. cannot be

   liable for direct infringement for the Accused Instrumentalities retailed by Sprint. See Pellegrini,

   supra. HTC Corp. is therefore entitled to summary judgment that it did not infringe any asserted

   claim of the ’467 Patent for any of the Accused Instrumentalities retailed by Sprint.
                                                   23
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 28 of 30 PageID #: 1793



   V.     HTC Corp. Is Entitled To Summary Judgment Of Non-infringement For Claims 10
          And Its Dependents Because Salazar Has Stipulated To Dismiss These Claims.

          Salazar has stipulated to no longer assert claims 10, 14, 17, 23, 26, 31, and 32. UMF No.

   3. Given Salazar’s stipulation, summary judgment of non-infringement of claims 10, 14, 17, 23,

   26, 31, and 32 of the ’467 Patent should be granted.

                                           CONCLUSION

          HTC Corp. is entitled to summary judgment for all of the foregoing reasons.

   Dated: February 12, 2018                               Respectfully submitted by,

                                                          /s/ Jerry R. Selinger_______________
                                                          Jerry R. Selinger
                                                          State Bar No. 18008250
                                                          Email: jselinger@pattersonsheridan.com
                                                          Trampas A. Kurth
                                                          State Bar No. 24055807
                                                          Email: tkurth@pattersonsheridan.com
                                                          PATTERSON + SHERIDAN, LLP
                                                          1700 Pacific Avenue, Suite 2650
                                                          Dallas, Texas 75201
                                                          Tel: 214.272.0957
                                                          Fax: 713.623.4846

                                                          /s/ Fred I. Williams_______________
                                                          Fred I. Williams
                                                          TX Bar No. 00794855
                                                          Email: fwilliams@velaw.com
                                                          Mario A. Apreotesi
                                                          TX Bar No. 24080772
                                                          Email: mapreotesi@velaw.com
                                                          VINSON & ELKINS LLP
                                                          2801 Via Fortuna, Suite 100
                                                          Austin, Texas 78746
                                                          Tel: 512.542.8400
                                                          Fax: 512.542.8612




                                                  24
Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 29 of 30 PageID #: 1794



                                             Todd E. Landis
                                             TX Bar No. 24030226
                                             Email: tlandis@velaw.com
                                             VINSON & ELKINS LLP
                                             2001 Ross Avenue, Suite 3700
                                             Dallas, Texas 75201
                                             Tel: 210.220.7700
                                             Fax: 210.220.7716

                                             Harry Lee Gillam, Jr.
                                             State Bar No. 07921800
                                             Email: gil@gillamsmithlaw.com
                                             GILLAM & SMITH, LLP
                                             303 South Washington Avenue
                                             Marshall, Texas 75670
                                             Tel: 903.934.8450
                                             Fax: 903.934.9257

                                             ATTORNEYS FOR DEFENDANT
                                             HTC CORPORATION




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Case 2:16-cv-01096-JRG-RSP Document 149 Filed 02/12/18 Page 30 of 30 PageID #: 1795



                                     CERTIFICATE OF SERVICE


           I certify that on February 12, 2018 a true and correct copy of the foregoing document was
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                                                          /s/ Fred I. Williams_______________
                                                          Fred I. Williams




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